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                         IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


  KRISTEN PIERSON,                                       Case No. 1:22-CV-00219-WES-PAS

                      Plaintiff,

     v.                                                     NOTICE OF COMPLIANCE

  GOLOCALPROV, LLC, THE FENTON
  GROUP, LLC, and CLOUDFLARE, INC.,

                      Defendants.


          On June 15, 2022, this Court ordered, in connection with allowing the motion for pro hac

 vice admission of Attorney Jay M. Wolman (ECF No. 3), that his admission was conditioned “on

 his review of Rhode Island ethical standards regarding appropriate conduct at depositions.”


          Consistent therewith, Attorney Wolman represents that he has re-reviewed the Rhode

 Island Rules of Professional Conduct and the Standards for Professional Conduct within the Rhode

 Island Judicial System. In so doing, he specifically searched the rules and commentary for all

 instances of the word “depose” and “deposition”. He has also specifically reviewed Rhode Island

 Rules 3.5(d) and 4.3, being the analogs of the rules at issue in Connecticut.


          The Court further ordered that local counsel, “Attorney Sean McAteer is reminded of his

 obligations as set forth in Local Rule LR Gen 204(d).” Consistent therewith, Attorney McAteer

 represents that he has re-reviewed Local Rule LR Gen 204(d).


          In light of the foregoing, Plaintiff’s counsel gives notice of compliance with the terms of

 the June 15, 2022, order.




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       Dated: June 15, 2022.        Respectfully Submitted,
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 15, 2022, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I further certify that a true and correct copy of the

 foregoing document being served via transmission of Notices of Electronic Filing generated by

 CM/ECF.

                                            /s/ Sean M. McAteer
                                            Sean M McAteer




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